                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


NICOLE CARTER,

     Plaintiff,

     v.                               Civil Action No. 3:25-cv-10447-MGM

SHEIN US SERVICES, LLC,

     Defendant.


MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO COMPEL,
   FOR DISCOVERY SANCTIONS, AND TO EXTEND PHASE I DISCOVERY
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       Defendant SHEIN US Services, LLC (“Defendant” or “SHEIN”), respectfully submits its

Memorandum of Law in Support of Defendant’s Motion to Compel, for Discovery Sanctions, and

to Extend Phase I Discovery.

I.     INTRODUCTION

       This is a Telephone Consumer Protection Act (“TCPA”) and Massachusetts Telemarketing

Solicitation Act (“MTSA”) litigation in which the pro se plaintiff, Nicole Carter (“Plaintiff”), has

refused to even identity what text messages Defendant allegedly sent her. Her interrogatory

answers are incomplete and evasive, failing to explain the basis for any of her conclusory and

implausible allegations. She refused to produce documents in response to the majority of

Defendant’s requests, even those that merely sought the production of the text messages

underlying her claims.1 Incredibly, Plaintiff objected (among other dubious claims) that the

disputed text messages are “not relevant” to her claims of receiving unsolicited text messages.

       And despite alleging that Defendant sent “over 70” text messages to her while she was on

the national and Massachusetts do not call lists, Plaintiff’s document production consisted of only

seven duplicative JPG/PNG picture files and one email. Notably, the email was from the National

Do Not Call Registry and confirms that her number was not registered until after she filed her

Complaint. She also “produced” portions of Defendant’s own Bates-stamped production,

including records from the Massachusetts Do Not Call List showing that that her number was not

registered until January 2025 … not 3.5 years ago as alleged.

       But Plaintiff’s misconduct goes beyond discovery deficiencies. She produced the

JPG/PNG files in response to Document Request No. 8, which requested copies of illegible

screenshots included in the Complaint. She also cited those files in her answers to Interrogatory


1
  Plaintiff also failed to respond to Defendant’s request for admissions within 33 days; therefore,
the matters addressed therein have been deemed admitted. See Fed. R. Civ. P. 36(a)(3).


                                                 1
Nos. 7-8 as her only evidence that Plaintiff allegedly used a “short code” to falsify caller

information and circumvent caller identification services. The problem is that the messages

displayed in the JPG/PNG files screenshotted in her Complaint, produced natively by Plaintiff,

and relied upon in her interrogatory answers, are not text messages that were sent to Plaintiff. She

has now admitted that these text messages not sent to her but rather sent to a completely different

person, a Mr. Vincent Lawrence, who filed his own TCPA and MTSA complaints against SHEIN

three months before Plaintiff filed hers. 2 When confronted, Plaintiff admitted to using ChatGPT

to mine Mr. Lawrence’s complaints to draft her own, stating: “[U]sing Chatgpt is not illegal so I

will continue using other complaints and if you see that I copy and paste somthing [sic] excuse me

its [sic] not illegal.” Plaintiff, however, has refused to explain how she came in possession of the

native JPG/PNG files of text messages cited in Mr. Lawrence’s pleadings.

       After woefully failing to meet the bare minimum of her discovery obligations, Plaintiff had

the audacity to file a motion for partial summary judgment (ECF Nos. 16-20), despite Defendant’s

stated objection given her discovery deficiencies, without engaging in a Rule 7.1(a)(2) conference,

before the Court’s scheduled pre-motion conference to discuss dispositive motions, before the

close of fact discovery, before sitting for her deposition, before serving complete and non-evasive

discovery responses, before so much as identifying what text messages are even at issue in this

litigation, and before Defendant had any opportunity to seek discovery on the recently discovered

issue of Plaintiff seeking damages for text messages that she admits were sent to someone else. In

addition to compelling responses to the discovery requests identified below, Defendant requests




2
 That matter, from which SHEIN was dismissed in February of 2025, remains pending in Suffolk
County Superior Court. Vincent Lawrence v. SHEIN US Services, LLC, Lexington Motors, Inc., &
Sierra Club, C.A. No. 2484CV02856 (Mass. Super. Ct.) (removed and later remanded upon
dismissal of federal claims, Case No. 1:24-cv-13002-MJJ (D. Mass.)).


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monetary sanctions in the amount of $5,244, its estimate of reasonable attorneys’ fees and costs

associated in preparing this Motion. Defendant further respectfully contends that Plaintiff’s

admitted litigation misconduct warrants additional inquiry by this Court, which will otherwise be

the subject of forthcoming motion practice by Defendant.

II.    PERTINENT BACKGROUND

       A.     PLAINTIFF’S       CONSENT       TO     RECEIVE      MESSAGES        FROM
              DEFENDANT

       On February 23, 2021, Plaintiff viewed the promotion below advertising Defendant’s SMS

program:




                                               3
(Ex. P (Def.’s Interrog. Resp.) No. 1.)3 The promotion explicitly disclosed: “By signing up, you

agree to our Terms & Privacy and to receive recurring automated promotion and personalized

marketing text messages (e.g., car reminders) from SHEIN at the cell number used when signing

up.” (Id.) Plaintiff clicked on the “GET 15% OFF NOW when you sign up for texts” button on the

advertisement above and was provided with a telephone number with which to sign up for

SHEIN’s SMS program. (Id.) Plaintiff then sent the following text message to the SHEIN phone

number to confirm Plaintiff’s consent to sign up for SHEIN’s SMS program and to receive text

messages from Defendant: “Send this text to subscribe to recurring automated personalized

marketing alerts (e.g. cart reminders) from SHEIN (ref: WwuJA).” (Id.) Plaintiff received a text

message confirming Plaintiff’s consent to receiving marketing text messages, which read:

“SHEIN: Welcome! Msg & data rates may apply. Msg frequency varies. Reply HELP for help,

STOP to cancel. Privacy: attnl.tv/p/cOu.” (Id.) Another text message was sent from the SHEIN

telephone number to Plaintiff that day, which read: “SHEIN: Click this link for your 10% OFF

coupon code: https://shein.attn.tv/l/BXL/emlFm.” (Id.)

       On March 23, 2023, Plaintiff again viewed the same advertisement promoting SHEIN’s

SMS program. (Id.) She again clicked on the “GET 15% OFF NOW when you sign up for texts”

button on the advertisement. (Id.) Plaintiff then sent the following text message to the SHEIN

telephone number to again consent to sign up for SHEIN’s SMS program and to receive text

messages from Defendant: “Send this text as your signature to receive SHEIN mktg texts at this #.

Consent not reqd 4 purchase.Msg data rates apply.Terms and Privacy apply (ref: qesLt).” (Id.)

Plaintiff then received a message confirming that she was already opted into Defendant’s SMS




3
 All exhibits referenced herein are attached to the concurrently-filed Declaration of Brian J.
Bosworth, Esq., in Support of Defendant’s Motion to Compel (the “Bosworth Decl.”).


                                               4
program, which read: “SHEIN: You are already subscribed. Click here to shop now:

https://shein.attn.tv/cl/RZl.” (Id.)

        From the date that Plaintiff joined the SHEIN SMS program on February 23, 2021, until

Defendant manually removed her from the program in February of 2025 after the filing of this

lawsuit, Plaintiff never sent a “STOP” text message to the SHEIN telephone number or otherwise

contacted SHEIN to revoke her express consent to receive text messages from Defendant. (Id.)

        B.      PLAINTIFF’S COMPLAINT

        Plaintiff nevertheless filed her Complaint in Massachusetts Superior Court, Hampden

County, on or about January 27, 2025. Therein Plaintiff alleges violations of the TCPA, the MTSA,

and, derivatively, G.L. c. 93A. (ECF No. 7 (State Court Record).) Defendant removed this action

to the United States District Court for the District of Massachusetts on February 24, 2025. (ECF

No. 1.) Defendant filed its Answer and Defenses on March 3, 2025. (ECF No. 5.)

        Plaintiff alleges that beginning on June 7, 2021, Defendant has sent “over 70 … unsolicited

text messages” to her cellular telephone without her written consent or for an emergency purpose,

in violation of the TCPA, MTSA, and G.L. c. 93A. (See, e.g., Compl. (ECF. No. 7) ¶¶ 1, 7-10, 15,

31, 41.) She also alleges that Defendant used an automatic telephone dialing system (“ATDS”) in

making these calls. (Id. ¶¶ 12, 28, 31.) She alleges that her telephone number was registered on

both the Massachusetts Do Not Call List and the National Do Not Call List when Defendant texted

her number from “6/23/21” to “10/08/23, and over 50 more times.” (Id. ¶¶ 38, 52, 69, 71).

        C.      PLAINTIFF’S DEFICIENT DISCOVERY RESPONSES

        A telephonic Scheduling Conference was held on April 23, 2025. Plaintiff did not attend.

(See ECF No. 12.) This Court subsequently issued a Scheduling Order which adopted Defendant’s

proposal for phased discovery. Pursuant thereto:




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       Phase I discovery shall be limited to the following issues: (1) whether Plaintiff
       consented to receive text messages from Defendant, including whether consent was
       ever revoked; (2) whether the text messages were unsolicited; (3) whether
       Plaintiff’s number is (or was) on the Massachusetts or national do not call registries;
       and (4) whether the text messages show any evidence of circumventing Plaintiff’s
       use of caller identification services or devices.

(ECF No. 13 ¶ 1.) The Phase I discovery deadline is July 18, 2025. (Id. ¶ 4.) A status conference

is scheduled for July 24, 2025, after the close of Phase I discovery, at which time the parties were

supposed to inform the Court if they intended on moving for any Phase I issues. (Id. ¶ 5) Such

motions were supposed to be filed thereafter by August 25, 2025. (Id. ¶ 6.)

       On April 30, 2025, Defendant’s counsel served upon Plaintiff: (1) Defendant’s First Set of

Phase I Interrogatories; (2) Defendant’s First Set of Phase I Requests for Production of Documents;

and (3) Defendant’s First Set of Phase I Requests for Admission. (Ex. A.) Plaintiff’s responses

were due 30 days thereafter. See Fed. R. Civ. 34(b)(2)(A), 33(b)(2), 36(a)(3). With the three Rule

6(d) days, the due date fell on June 2, 2025. See Fed. R. Civ. P. 6(d).4 Plaintiff did not serve any

responses on that date. (Bosworth Decl. ¶ 6.) Nor did she seek an extension of time to respond

from Defendant’s counsel or the Court or otherwise contact Defendant in any manner. (Id.)

       On June 5, 2025, undersigned counsel emailed Plaintiff pursuant to Local Rule 7.1(a)(2)

and Local Rule 37.1 to request a telephonic discovery conference to discuss her overdue responses

and Defendant’s forthcoming motion to compel. (Ex. B p. 7.) Having received no response,

counsel reiterated the request by email dated June 9, 2025. (Id. p. 6.)5 Plaintiff finally responded



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  Service was by email. (See Ex. C (Plaintiff email to Defendant’s counsel: “I agree to accept
service by email only, and I waive the requirement for delivery of hard copies by U.S. mail.”).
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  Plaintiff has throughout this litigation refused to correspond with Defendant’s counsel by
telephone. (See, e.g., Ex. D. at DEF-000016 (“[P]lease do not call my phone, only communicate
with me through email so we have a record and there is no confusion thank you.”). Plaintiff has
reiterated this request repeatedly and even hung up on Defendant’s counsel when he attempted to
contact Plaintiff by telephone. (Bosworth Decl. ¶ 10.)


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that day, stating only: “I am sending discovery by end of the day Thank you.” (Id.) Of course, she

did not. Another email from Defendant’s counsel on June 10 went unanswered. (Id. p. 7.)

       Finally, on June 11, 2025, 44 days after service, Plaintiff served her Responses and

Objections to [Defendant]’s Requests for Admission, Responses to Defendant’s First Set of Phase

I Interrogatories, and Responses to First Set of Phase I Requests for Production of Documents.

(See Exs. E-I.) The responses are plainly deficient. Plaintiff refused answer the majority of

Defendant’s requests, let alone completely and non-evasively, by repeating a near identical

objection for every interrogatory, document request, and request for admission. (See Exs. F-H.)

Plaintiff’s deficient responses are addressed in detail below. (See infra, § III.)

       Plaintiff also attached a “production” along with her deficient responses. One document

was her Complaint. (See Ex. E.) Two others were from Defendant’s own document production.

(See id. (“DEF-000001-DEF-000046” and the “Massachusetts Do Not Call registration,” produced

by Defendant); Bosworth Decl. ¶ 11.) The only documents actually produced by Plaintiff were:

(1) one email (Ex. I); and (2) six native JPG digital photograph files and eight native PNG files,

showing largely duplicative text messages allegedly sent by Defendant, produced in response to

Defendant’s request for legible copies of the screenshots in Paragraph 8 of the Complaint (Exs. J-

L). These documents, the only ones actually produced by Plaintiff, are disastrous for her case.

       The    one    produced     email    is   from   the   National    Do    Not   Call   Registry

(Verify@donotcall.gov), which writes to Plaintiff:

       Thank you for registering your phone number with the National Do Not Call
       Registry. You successfully registered you phone number ending in 5580 on
       January 31, 2025. Most telemarketers will be required to stop calling you 31 days
       from your registration date.

(Ex. I (emphasis added).) In other words, Plaintiff registered her telephone number on the National

Do Not Call Registry four days after she filed her Complaint on January 27, 2025. Yet Plaintiff



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repeatedly alleged in her Complaint that her telephone number was registered on both the National

Do Not Call List and the Massachusetts Do Not Call List when Defendant began texting her 3.5

years ago in June of 2021. (See Compl. (ECF. No. 7) ¶ 52 (“The Defendants [sic] engaged in unfair

and deceptive practices … when they failed to register like other lawful telemarketers before

placing telemarketing calls to the plaintiff without consent while I was on the National & State Do

Not Call Registry”); id. ¶ 38 (“Defendants [sic] violated Mass. Gen. Laws ch. 159C by sending

unauthorized telemarketing communications to plaintiff’s telephone number registered on the

Massachusetts State DNC”); id. ¶¶ 69, 71).

       This was false, and Plaintiff knew it. Plaintiff has now admitted in both her interrogatory

and request for admission responses that not only was her number not registered on the National

Do Not Call List until January 31, 2025 (four days after the filing of her Complaint), but also that

her number was not registered on the Massachusetts Do Not Call List until January 1, 2025 (mere

weeks before the filing of her Complaint and years after the complained-of text messages). (See

Ex. G. at Interrog. Nos. 9 & 10; Ex. F. at Request Nos. 16 & 17.)

       It gets worse. Again, Plaintiff produced native JPG/PNG picture files showing text

messages of purported text messages from Defendant to Plaintiff, in response to Defendant’s

request for legible copies of the screenshots in Paragraph 8 of the Complaint, which allegedly show

text messages sent “within a 12 month period from defendant Shein.” (See Ex. H at No. 8; Exs. J-

L.) Plaintiff also answered Interrogatory Nos. 7-8 by citing these documents as her only evidence

that Plaintiff allegedly used a “short code” to falsify caller information and circumvent caller

identification services. (See Ex. G at Nos. 7-8.) Except those are not text messages sent to Plaintiff

or to Plaintiff’s telephone number. And she has now admitted as much.




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        Unfortunately for Plaintiff, Defendant’s counsel was very familiar with these messages, as

they were the basis of a prior TCPA/MTSA lawsuit against SHEIN brought by Mr. Vincent

Lawrence, who filed his suit only three months before Plaintiff filed hers. In fact, not only are the

text messages screenshotted in Mr. Lawrence’s Verified Complaint (Ex. Q) and Verified Amended

Complaint (Ex. R) identical in substance (content, sequence, timestamp) to the text messages

produced by Plaintiff, but the photographs themselves are identical in the precise positioning of

the screen scroll, the angle of the cell phone, the WiFi signal strength, the battery charge, and even

the glare on the phone’s screen. (Compare Exs. J-L with Ex. Q ¶ 41 & Ex. R ¶ 54.) A side-by-side

comparison of Plaintiff’s production and Mr. Lawrence’s complaints is included in Appendix A

hereto. There can be no dispute that they are the exact same photographs.

        By way of a letter emailed on June 23, 2025, Defendant’s counsel raised this issue with

Plaintiff and requested an immediate explanation. (See Ex. N.) Plaintiff responded by email the

next day, defiantly stating in part:

        I wanted to share that in preparing and structuring my claims, I’ve closely studied
        complaints filed in similar consumer protection cases, particularly Vincent
        Lawrence v. Shein and Doane v. Benefytt Technologies, Inc. This method has been
        extremely helpful in understanding how other plaintiffs have successfully framed
        their arguments … To be clear, my approach involves referencing and building
        upon publicly filed complaints that assert the same or substantially similar causes
        of action. This practice is both common and permissible in legal drafting, especially
        where the statutory framework and factual patterns overlap and using Chatgpt is
        not illegal so I will continue using other complaints and if you see that I copy and
        paste something excuse me its not illegal.

(Ex. O (emphasis added).) Plaintiff thus does not dispute that she “cop[ied] and paste[d]”

screenshots of texts sent to Mr. Lawrence from Mr. Lawrence’s pleadings into her own Complaint,

and does not deny that she then produced to Defendant native JPG/ PNG files of those screenshots

in this litigation, and cited those native files in her interrogatory responses.




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       How Plaintiff came into possession of those native files is still unclear, as they are not part

of Mr. Lawrence’s public pleadings.

       D.      PLAINTIFF’S REFUSAL TO MEET AND CONFER

       Back on June 11, 2025, Defendant’s counsel immediately requested a telephonic discovery

conference pursuant to Local Rule 7.1(a)(2) and Local Rule 37.1 to discuss Plaintiff’s deficient

responses and Defendant’s forthcoming motion to compel. (Ex. B p. 4.) Plaintiff requested further

detail as to the claimed deficiencies. (Id. p. 2-4.) She also confirmed the undersigned’s long-held

suspicion: that every pleading, filing, discovery request, discovery response, and correspondence

submitted by Plaintiff in this litigation was created by ChatGPT:

       And yes, for full transparency, I do use tools like ChatGPT to assist in drafting legal
       documents, which I left things on here so you won’t think someone else is writing
       it nope https://chatgpt.com/ helps me. I will use https://chatgpt.com to write my
       partial summary judgment in 30 seconds I will edit it and send to you shortly and I
       will win the Motion for Summary Judgment also I will have https://chatgpt.com
       write me another set of discovery request in 5 seconds and send to you.

(Id. p. 3; see also id. p. 1 (“…i am still editing my summary judgment Chatgpt created for me …

thank God for Chatgpt A i”); Ex. M p. 2 (“OK, well I am sending out the Partial Motion for

Summary Judgment tomorrow , I am just have https://chatgpt.com go over the memo and

references”); id. p. 1 (“I Love ChatGpt”); Ex. O (“…using Chatgpt is not illegal so I will continue

using other complaints and if you see that I copy and paste somthing excuse me its not illegal”).

       On June 17, 2025, Defendant’s counsel provided a further detailed summary of the

deficiencies in Plaintiff’s Responses to Defendant’s First Set of Phase I Interrogatories and

Responses to First Set of Phase I Requests for Production of Documents. (Ex. B p. 1-2; Ex. M. p.

3-4.) Plaintiff was also put on notice that because she failed to respond to Defendant’s First Set of

Phase I Requests for Admission within 33 days, the matters addressed therein have been deemed




                                                 10
admitted as a matter of law. (Id.)6 See Fed. R. Civ. P. 36(a)(3). Plaintiff responded that day, “I

cant have those response by the 19th i can have by next week,” which counsel understood to be a

representation that she would a supplement her discovery responses and production. (Ex. B p. 1;

Ex. M. p. 3.) Defendant rescheduled Plaintiff’s deposition, which was noticed for June 20, 2025,

based on Plaintiff’s representation of forthcoming amended discovery responses and supplemental

document production. (Ex. M. p. 2.)

        A week later, on June 24, 2025, Defendant’s counsel requested an update on Plaintiff’s

amended discovery responses and supplemental document production. (Ex. B p. 1.) Plaintiff never

responded and, as of the filing of this Motion, has not served any amended discovery responses or

supplemented her “document production.” (Bosworth Decl. ¶ 20.)

III.    PLAINTIFF SHOULD BE COMPELLED TO AMEND HER INTERROGATORY
        RESPONSES AND TO SUPPLEMENT HER DOCUMENT PRODUCTION

        Defendant’s discovery requests seek basic, foundational documents and information

central to Plaintiff’s causes of action and directly relevant to the articulated Phase I issues. Plaintiff




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  Plaintiff’s otherwise deficient responses to Defendant’s First Set of Phase I Requests for
Admission are therefore not a subject of this Motion. Since Rule 36 is self-executing, no motion
to compel is necessary. See Fed. R. Civ. P. 36(a)(3) (“A matter is admitted unless, within 30 days
after being served, the party to whom the request is directed serves on the requesting party a written
answer or objection addressed to the matter and signed by the party or its attorney.”); Brook Vill.
N. Assocs. v. Gen. Elec. Co., 686 F.2d 66, 70 (1st Cir. 1982) (“[I]f a party fails timely to answer a
request for admissions, the requested items are deemed admitted” and “[a]ny matter thus admitted
under the Rule is conclusively established”); In re Pac. Thomas Corp., 715 F. App’x 778, 779 (9th
Cir. 2018) (“Rule 36 is self-executing, meaning that a party admits a matter by failing to serve a
response to the request within thirty days; the opposing party does not have to file a motion to
deem the matter admitted.”) (citing Fed. R. Civ. P. 36(a)(3)); see also Tafari v. Gilmore, No.
02CV403S, 2012 WL 5400946, at *2 (W.D.N.Y. Nov. 5, 2012) (“Generally, it has been held that
Rule 36 is self-executing, and that it is unnecessary for the Court to deem a matter admitted.”);
Bonomo v. Factory Mut. Ins. Co., No. 1:21-CV-11750-IT, 2023 WL 3934696, at *4 (D. Mass.
June 9, 2023); Xiao Wei Catering Linkage in Inner Mongolia Co. v. Inner Mongolia Xiao Wei
Yang USA, Inc., No. CV 15-10114-DJC, 2018 WL 1718630, at *3 (D. Mass. Apr. 9, 2018).


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repeated near verbatim the same objection to each and every interrogatory, request for production,

and request for admission that she did not want to answer:

       I object to this request because it’s not relevant, it doesn’t fit the limited discovery
       allowed by the Court. The judge only approved a narrow set of questions, and this
       one goes beyond that. In my Verified complaint I stated that I am the regular user.
       The judge approved: Phase I discovery shall be limited to the following issues: (1)
       whether Plaintiff consented to receive text messages from Defendant, including
       whether consent was ever revoked; (2) whether the text messages were unsolicited;
       (3) whether Plaintiffs number is (or was) on the Massachusetts or national do not
       call registries; and (4) whether the text messages show any evidence of
       circumventing Plaintiffs use of caller identification services or devices.

(See Exs. F-H.) Plaintiff’s claim that this Court “only approved a narrow set of questions” is, of

course, incorrect. It approved a set of issues. (See ECF No. 13 ¶ 1.) Defendant’s discovery requests

properly sought documents and information directly related to those issues.

       For sake of efficiency, Plaintiff’s deficient responses are grouped below by Phase I issue.

       A.      ISSUES 1 & 2: WHETHER PLAINTIFF CONSENTED TO RECEIVE
               TEXT MESSAGES FROM DEFENDANT, INCLUDING WHETHER
               CONSENT WAS EVER REVOKED. AND WHETHER THE TEXT
               MESSAGES WERE UNSOLICITED

       The first two Phase I issues are: “(1) whether Plaintiff consented to receive text messages

from Defendant, including whether consent was ever revoked; [and] (2) whether the text messages

were unsolicited.” (ECF No. 13 ¶ 1.) Call and text messages made “with the prior express consent

of the called party” do not violate the TCPA. 47 U.S.C. § 227(b)(1)(A). And the MTSA applies

only to calls and texts that are “unsolicited.” G.L. c. 159C, § 1 (“Unsolicited telephonic sales call”

means “a telephonic sales call other than a call made: (i) in response to an express written or verbal

request of the consumer called” or “(iii) to an existing customer …”); id. § 3 (“A telephone solicitor

shall not make or cause to be made an unsolicited telephonic sales call to a consumer..”). Each of

the discovery requests listed below is directly relevant to these Phase I issues:

       INTERROGATORY NO. 1: Identify the date that You were assigned the
       Telephone Number (413-883-5580).


                                                 12
       RESPONSE NO. 1: I object to this request because it’s not relevant, it doesn’t fit
       the limited discovery allowed by the Court. The judge only approved a narrow set
       of questions, and this one goes beyond that. In my Verified complaint I stated that
       I am the regular user. The judge approved: Phase I discovery shall be limited to the
       following issues: (1) whether Plaintiff consented to receive text messages from
       Defendant, including whether consent was ever revoked; (2) whether the text
       messages were unsolicited; (3) whether Plaintiff’s number is (or was) on the
       Massachusetts or national do not call registries; and (4) whether the text messages
       show any evidence of circumventing Plaintiffs use of caller identification services
       or devices.

       INTERROGATORY NO. 2: Identify any time period(s) from February 15, 2021,
       through February 15, 2025, during which the Telephone Number (413-883-5580)
       was not assigned to You.

       RESPONSE NO. 2: [Identical Response]

       DOCUMENT REQUEST NO. 2: Documents sufficient to prove that the
       Telephone Number (413-883-5580) belongs to and is assigned to you.

       RESPONSE NO. 2: I object to this request because it’s not relevant, it doesn’t fit
       the limited discovery allowed by the Court. The judge only approved a narrow set
       of questions, and this one goes beyond that. In my Verified complaint I stated that
       the telephone number was mine. The judge approved: Phase I discovery shall be
       limited to the following issues: (1) whether Plaintiff consented to receive text
       messages from Defendant, including whether consent was ever revoked; (2)
       whether the text messages were unsolicited; (3) whether Plaintiffs number is (or
       was) on the Massachusetts or national do not call registries; and (4) whether the
       text messages show any evidence of circumventing Plaintiffs use of caller
       identification services or devices.

       DOCUMENT REQUEST NO. 3: Documents sufficient to prove that You are the
       regular user of the Telephone Number (413-883-5580).

       RESPONSE NO. 3: [Identical Response]

       DOCUMENT REQUEST NO. 4: Documents sufficient to prove the date that You
       were first assigned the Telephone Number (413-883-5580).

       RESPONSE NO. 4: [Identical Response]

(Ex. G at Nos. 1-2; Ex. H at Nos. 3-4.)

       Interrogatory Nos. 1-2 and Document Request Nos. 2-4 merely seek confirmation that

Plaintiff was in fact the user of the telephone number at issue in this lawsuit (413-883-5580), and

at what point in time she acquired that number. Defendant is entitled to confirmation that Plaintiff


                                                13
was in fact the user of the number, as she conclusorily alleges in her Complaint. Particularly now

that Plaintiff has denied sending the February 23, 2021, text message in which she consented to

receive text messages from Defendant. (See ECF No. 18 (Affidavit of Nicole Carter) ¶ 7

(“Defendant claims that I have prior express written consent by clicking a ‘Get 15% Off’ offer. I

deny giving such consent …”). And now that Plaintiff has admitted that her Complaint and

interrogatory responses rely on text messages that were sent to someone else. (See infra, § II.C.)

       INTERROGATORY NO. 3: Identify and describe by date, time, and content all
       text messages and calls sent from SHEIN to You from February 15, 2021, through
       February 15, 2025.

       RESPONSE NO. 3: I object to this request because it’s not relevant, it doesn’t fit
       the limited discovery allowed by the Court. The judge only approved a narrow set
       of questions, and this one goes beyond that. In my Verified complaint I stated that
       I am the regular user. The judge approved: Phase I discovery shall be limited to the
       following issues: (1) whether Plaintiff consented to receive text messages from
       Defendant, including whether consent was ever revoked; (2) whether the text
       messages were unsolicited; (3) whether Plaintiffs number is (or was) on the
       Massachusetts or national do not call registries; and (4) whether the text messages
       show any evidence of circumventing Plaintiffs use of caller identification services
       or devices

       INTERROGATORY NO. 4: Of those text messages or calls identified by You in
       response to Interrogatory No. 3, identify all those which You allege were made in
       violation of the TCPA, MTSA, and/or Chapter 93A.

       RESPONSE NO. 4: [Identical Response]

       INTERROGATORY NO. 5: Identify and describe by date, time, and content all
       text messages and/or calls sent by You to SHEIN from February 15, 2021, through
       February 15, 2025.

       RESPONSE NO. 5: [Identical Response]

       DOCUMENT REQUEST NO. 6: All text messages and/or calls sent from SHEIN
       to You from February 15, 2021, through February 15, 2025.

       RESPONSE NO. 6: I object to this request because it’s not relevant, it discovery
       allowed by the Court. The judge only approved a narrow set of questions, and this
       one goes beyond that. When plaintiff receives the file which SHEIN refused to
       produce. I will supplement my answer with the documents. Also attached is 152
       text messages without any opt out attached that SHEIN produced.



                                                14
       DOCUMENT REQUEST NO. 7: All text messages and/or calls sent from You to
       SHEIN from February 15, 2021, through February 15, 2025.

       RESPONSE NO. 7: : I object to this request because it’s not relevant, asks for too
       much information, and doesn’t fit the limited discovery allowed by the Court. The
       judge only approved a narrow set of questions, and this one goes beyond that. In
       my Verified complaint I stated that I am the regular user. The judge approved:
       Phase I discovery shall be limited to the following issues: (1) whether Plaintiff
       consented to receive text messages from Defendant, including whether consent was
       ever revoked; (2) whether the text messages were unsolicited; (3) whether
       Plaintiff’s number is (or was) on the Massachusetts or national do not call registries;
       and (4) whether the text messages show any evidence of circumventing Plaintiffs
       use of caller identification services or devices.

(Ex. G at Nos. 3-5; Ex. H at Nos. 6-7.)

       Defendant’s Interrogatory Nos. 3-5 and Document Request Nos. 6-7 seek documents and

information concerning the text messages sent to/from Defendant and Plaintiff and identification

of which of those Plaintiff alleges were made in violation of the TCPA, MTSA, and/or G.L. c.

93A. Identification of the messages underlying TCPA cases is, of course, foundational discovery

and often the subject of allowed motions to compel. See Katz v. Liberty Power Corp., LLC, No.

18-CV-10506-ADB, 2020 WL 3492469, at *3 (D. Mass. June 26, 2020) (“Courts often permit

discovery of records related to the telephone numbers at issue in TCPA cases.”) (collecting cases).

Plaintiff’s failure to answer these requests is inexcusable. Defendant is entitled to know what

messages Plaintiff is relying upon. Especially because Plaintiff has both claimed other people’s

messages as her own and appears to selectively choose which messages produced by Defendant

she will adopt and which she will disavow. Defendant is entitled to clarification.

       B.      ISSUE 3: WHETHER PLAINTIFF’S NUMBER IS (OR WAS) ON THE
               MASSACHUSETTS OR NATIONAL DO NOT CALL REGISTRIES

       The third Phase I issue is “whether Plaintiff’s number is (or was) on the Massachusetts or

national do not call registries.” (ECF No. 13 ¶ 1.) The MTSA prohibits telephone solicitors from

making “unsolicited” telephonic sales calls to a consumer “if the consumer’s name and telephone



                                                 15
number appear on the then current quarterly [Massachusetts Do Not Call List].” G.L. c. 159C, §

3. The Massachusetts Do Not Call List incorporates the names and telephone numbers of

Massachusetts consumers who enroll in the National Do Not Call Registry. 201 C.M.R. § 12.03(5).

Each of the interrogatories below seek only this basic information:

       INTERROGATORY NO. 11: Identify any time period(s) from February 15,
       2021, through February 15, 2025, during which the Telephone Number (413-883-
       5580) was not registered on the Massachusetts Do Not Call List.

       RESPONSE NO. 11: I object to this request because it’s not relevant, it doesn’t fit
       the limited discovery allowed by the Court. The judge only approved a narrow set
       of questions, and this one goes beyond that. In my Verified complaint I stated that
       I am the regular user. The judge approved: Phase I discovery shall be limited to the
       following issues: (1) whether Plaintiff consented to receive text messages from
       Defendant, including whether consent was ever revoked; (2) whether the text
       messages were unsolicited; (3) whether Plaintiffs number is (or was) on the
       Massachusetts or national do not call registries; and (4) whether the text messages
       show any evidence of circumventing Plaintiffs use of caller identification services
       or devices.

       INTERROGATORY NO. 12: Identify any time period(s) from February 15,
       2021, through February 15, 2025, during which the Telephone Number (413-883-
       5580) was not registered on the National Do Not Call Registry.

       RESPONSE NO. 12: [Identical response]

       INTERROGATORY NO. 13: Of those text messages or calls identified in
       Interrogatory No. 3, identify those which were sent during the time the number was
       not registered on the National Do Not Call Registry.

       RESPONSE NO. 13: [Identical response]

       INTERROGATORY NO. 14: Identify those which were sent while the number
       was not registered on the Massachusetts Do Not Call List.

       RESPONSE NO. 14: [Identical response]

(Ex. G at Nos. 11-14.)

       Plaintiff did answer Interrogatory Nos. 9 and 10, which asked Plaintiff to identify the

effective dates that her telephone number (413-883-5580) was registered on the Massachusetts Do

Not Call List and the National Do Not Call List, respectively. (See Ex. G No. 9 (answering



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“January 1, 2025”) & No. 10 (answering “January 31, 2025”).) Interrogatory Nos. 11-14 merely

request Plaintiff to confirm which of the text messages that form the basis of her Complaint were

sent during the time that her telephone number was registered on either the Massachusetts Do Not

Call List or the National Do Not Call List. This is of course directly relevant to Phase I. The answer

is likely going to be: “None of them.” But Defendant is absolutely entitled to obtain that answer

from Plaintiff – in writing, signed, and under the penalty of perjury. Plaintiff cannot avoid

answering interrogatories just because they are devastating to her case.

       C.      PLAINTIFF’S FURTHER LITIGATION MISCONDUCT

       Defendant further requests that the Court compel Plaintiff to produce documents in

response to the Requests identified below, particularly in light of Plaintiff’s recent admission that

her Complaint contains screenshots of text messages that were sent to not to her and not to her

telephone number, but rather to a different person who had previously sued SHEIN, and that she

produced native JPEG/PNG files of these screenshots in discovery and relied upon them to answer

multiple interrogatories. (See supra, § II.C.)

       REQUEST NO. 23: All documents and correspondence between You and any
       individual who has previously filed a lawsuit against SHEIN alleging a violation of
       either the Telephone Consumer Protection Act, Massachusetts Telemarketing
       Solicitation Act, and/or Chapter 93A concerning any of the Phase I Issues.

       RESPONSE NO. 22-24: I object to this request because it’s not relevant, it doesn’t
       fit the limited discovery allowed by the Court. The judge only approved a narrow
       set of questions, and this one goes beyond that. In my Verified complaint I stated
       that I am the regular user. The judge approved: Phase I discovery shall be limited
       to the following issues: (1) whether Plaintiff consented to receive text messages
       from Defendant, including whether consent was ever revoked; (2) whether the text
       messages were unsolicited; (3) whether Plaintiffs number is (or was) on the
       Massachusetts or national do not call registries; and (4) whether the text messages
       show any evidence of circumventing Plaintiffs use of caller identification services
       or devices. Plaintiff will not be producing any documents for 22-24 its outside the
       court orders.

(Ex. H at No. 23.)



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       At a minimum, Defendant respectfully requests that the Court compel production of all

documents and communications between Plaintiff and Mr. Lawrence concerning Defendant.

Plaintiff’s feeble excuse that she mined publicly-available pleadings does not explain how she

came in possession of native files of the screenshots reproduced in Mr. Lawrence’s complaints.

Given that these stolen text messages are also reproduced in Paragraph 8 of her Complaint, and

that Plaintiff has also admitted to lying in her Complaint when alleging that her telephone number

was registered on the Massachusetts Do Not Call List and the National Do Not Call List, Defendant

respectfully requests that Plaintiff be ordered to inform the Court how she came in possession of

these files and that the Court consider additional sanctions (above and beyond those requested

herein) based on her responses.

IV.    REQUEST FOR SANCTIONS

       Given the severity and willfulness of the above-described conduct, Defendant respectfully

requests that the Court award Defendant its reasonable attorneys’ fees associated in drafting this

Motion, estimated to be $5,244 for 12 hours of work. (See Bosworth Decl. ¶ 26.) To be clear,

Plaintiff’s pro se status is no excuse for her blatant disregard for her discovery obligations and

brazen litigation misconduct. See Kruskall v. Sallie Mae Serv., Inc., No. 15-CV-11780-DJC, 2016

WL 1056973, at * 1 (D. Mass. Mar. 14, 2016) (“[P]ro se litigants must comply with procedural

and substantive law.”); Pierce & Mandell, P.C. v. Pulsifer, 77 Mass. App. Ct. 1123 (Table), 2010

WL 3745631, at *1 (Sept. 28, 2010) (“[Plaintiff]’s pro se status did not exempt him from the

requirement that he follow the rules and orders of the court and respect its authority and

processes”). The policy behind holding pro se plaintiffs to a less stringent standard “is that if they

present sufficient facts, the court may intuit the correct cause of action, even if it was imperfectly

pled.” Ahmed v. Rosenblatt, 118 F.3d 886, 890 (1st Cir. 1997). It does not permit a pro se plaintiff

to make misstatements of fact in a pleading and to then rely on evidence she knows to be false.


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V.     CONCLUSION

       For the foregoing reasons, Defendant respectfully requests that the Court allow its Motion

to Compel, for Sanctions, and to Extend Phase I Discovery.


                                                          Respectfully Submitted,


                                                          SHEIN US SERVICES, LLC

                                                          By its attorneys,

                                                          /s/ Brian J. Bosworth
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                                                          (617) 648-2800
                                                          (617) 433-5022 (fax)
                                                          BBosworth@Hunton.com

Dated: July 3, 2025




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of July, 2025, a true and correct copy of this document
was electronically filed with the Clerk of Court through the ECF System and will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (“NEF”)
pursuant to Local Rule 5.4(c). A true and correct copy of the foregoing was also served by email
upon Plaintiff Nicole Carter at the address and email address below:

       Nicole Carter
       16 Rochelle Street
       Springfield, MA 01109
       Nicolecarter7440@gmail.com

                                                      /s/ Brian J. Bosworth
                                                      Brian J. Bosworth




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                              APPENDIX A




Lawrence Verified Complaint        Carter Production (Ex. K, Pictures 3 & 5.)
(Ex. Q ¶ 41)




                                 A-1
Lawrence Verified Complaint    Carter Production (Ex. K, Picture 2; Ex. L,
(Ex. Q ¶ 41)                   Picture 4.)




                              A-2
Lawrence Verified Complaint
(Ex. Q ¶ 41)                   Carter Production (Ex. J, Picture 4; Ex. K,
                               Picture 1.)




                              A-3
Lawrence Verified Complaint    Carter Production (Ex. J, Picture 1; Ex. L,
(Ex. Q ¶ 41)                   Picture 1.)




                              A-4
Lawrence Verified Complaint
                               Carter Production (Ex. J, Picture 2; Ex. L,
(Ex. Q ¶ 41)
                               Picture 2.)




                              A-5
                               Carter Production (Ex. J, Picture 3; Ex. L,
                               Picture 3.)

Lawrence Verified Complaint
(Ex. Q ¶ 41)




                              A-6
                                   Carter Production (Ex. J, Picture 5; Ex. K,
                                   Picture 4.)

Lawrence Verified Am. Complaint
(Ex. R ¶ 54)




                                  A-7
